

ON MOTION TO CORRECT OPINION

PER CURIAM.
Appellee’s Motion to Correct Opinion is granted and this court’s opinion dated February 28, 2007, is hereby withdrawn and substituted with the following:
Appellant, Glenn Smith, raises several challenges on appeal, only one of which has merit. As the State concedes, the trial court erred in denying appellant’s motion for relief from an order assessing appellate processing fees and costs against appellant for a previous appeal taken by another inmate. We, therefore, reverse and remand to the trial court to grant the appropriate relief to appellant for the improperly assessed fees.
WOLF, VAN NORTWICK, and LEWIS, JJ., concur.
